                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

IN RE: Cytwelia Tobin                                            CASE NO: 16-11600


                         TRANSMITTAL OF UNCLAIMED FUNDS
       Now comes Todd S. Johns, Standing Chapter 13 Trustee, who reports the following:

                                                (1)

    That pursuant to code section 347(a) of Title 11, ninety (90) days after the final distribution
under Section 1326, the Trustee shall stop payment on any check remaining unpaid and any
remaining property of the estate shall be paid into the Court for disposal under Chapter 129 of
Title 28.

                                                (2)

    That in the above styled matter, ninety (90) days or more have passed since final distribution
was made and pursuant to Rule 3011, the name of party to whom such non-negotiated
distribution check was issued, the amount of the check and the creditor’s last known address is as
follows:
                                       CYTWELIA TOBIN
                                    105 DOWNING COURT
                                   BOSSIER CITY, LA 71111

                                                (3)

   The Trustee’s check for $10,281.00 payable to the Clerk, U.S. Bankruptcy Court has been
mailed contemporaneously with this notice.

Respectfully submitted this 12th day February, 2020.


                                                            /s/Todd S. Johns
                                                            Todd S. Johns
                                                            Chapter 13 Trustee
Void Ck 2055354 , clm # Debtor Refund                       P.O. Box 1770
                                                            Shreveport, La 71166
                                                            Phone - (318)673-8244
                                                            Fax - (318)673-8254




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